 Case 5:20-cv-01126-SB-SHK Document 213 Filed 11/19/21 Page 1 of 5 Page ID #:4410




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 8 Counsel for the Plaintiff
 9 [additional counsel listed below]
10                       UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
                               EASTERN DIVISION
12
13   DANIELLE GAMINO, individually
     and on behalf of all others similarly   Case No.: 5:20-cv-01126-SB (SHK)
14   situated,
15                                           PLAINTIFF’S NOTICE OF MOTION
           Plaintiff,                        TO CONSOLIDATE ACTIONS
16                                           PURSUANT TO FEDERAL RULE
17   v.                                      OF CIVIL PROCEDURE 42
18   KPC HEALTHCARE HOLDINGS,                Hearing Date: January 7, 2022
19   INC., et al.                            Time: 8:30 a.m.
                                             Courtroom: 6C
20         Defendants                        Judge: Hon. Stanley Blumenfeld, Jr.
21
22   DANIELLE GAMINO, individually
23   and on behalf of all others similarly   Case No.: 5:21-cv-01466-SB (SHK)
     situated,
24
25         Plaintiff,
26   v.
27
     SPCP GROUP, LLC
28
     NOTICE OF MOTION TO CONSOLIDATE ACTIONS
                                 1
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 1
           Defendant
 2
 3   and

 4   KPC HEALTHCARE, INC.
 5   EMPLOYEE STOCK OWNERSHIP
     PLAN
 6
 7         Nominal Defendant
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     NOTICE OF MOTION TO CONSOLIDATE ACTIONS
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 1                                NOTICE OF MOTION

 2         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3
           PLEASE TAKE NOTICE that on January 7, 2022, at 8:30 a.m. in the
 4
 5 Courtroom of the Honorable Stanley Blumenfeld Jr., located at 350 West 1st
 6 Street, Los Angeles, California 09912, Plaintiff DANIELLE GAMINO
 7
   (“Plaintiff”), will move for an Order, that the matter Gamino v. SPCP Group, LLC,
 8
 9 No. 5:21-cv-01466-SB (filed August 27, 2021) be consolidated with the matter
10 Gamino v. KPC HealthCare Holdings, et al. No. 5:20-cv-1126-SB-SHK (filed
11
   June 1, 2020) for all purposes.
12
13       This motion is made pursuant to Fed. R. Civ. P. 42(a) upon the grounds that
14 there are common questions of law and fact that warrant consolidation of these
15
   actions. In particular, the cases arise from the same transaction, involve common
16
17 legal and factual issues, and the liability of defendant in SPCP depends on the
18 existence of a breach alleged in Gamino v. KPC HealthCare Holdings, et al.
19
   Therefore, consolidating the cases is in the interest of judicial efficiency and will
20
21 save the Court and the parties time and expense. The convenience conferred by
22 consolidation outweighs any potential delay, confusion, or prejudice that might
23
   arise from consolidation.
24
25         This motion is based on this Notice of Motion, the Memorandum of Law,
26 Declaration of Daniel Feinberg in Support of the Motion to Consolidate, and
27
28 NOTICE OF MOTION TO CONSOLIDATE ACTIONS
                               3
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 1 exhibits attached thereto filed in Gamino v. SPCP Group, LLC, No. 5:21-cv-
 2 01466-SB, and the pleadings and papers on file in this action.
 3
          This motion is made following the conference of counsel pursuant to L.R. 7-
 4
 5 3 which took place telephonically on November 8, 2021.
 6
 7
 8 DATED: November 19, 2021                     Respectfully submitted,

 9
                                                       /s/ Daniel Feinberg
10                                              Daniel Feinberg (SBN 135983)
11                                              Nina Wasow (SBN 242047)
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18                                              Sarah L. Kokonas (SBN 262875)
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28 NOTICE OF MOTION TO CONSOLIDATE ACTIONS
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10                                         Attorneys for Plaintiff
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